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Attorneys for Defendant Alex Hernandez



                IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,       )       Case No. CR S-07-515-3 WBS
                                )
           Plaintiff,           )       STIPULATION RE-SCHEDULING
                                )       SENTENCING HEARING AND AMENDING
v.                              )       SCHEDULE FOR DISCLOSURE OF PRE-
                                )       SENTENCE REPORT AND FOR FILINGS
ALEX HERNANDEZ,                 )       OF OBJECTIONS TO THE PRE-
                                )       SENTENCE REPORT AND [PROPOSED]
           Defendant.           )       ORDER THEREON
                                )


     Defendant Alex Hernandez, through his attorney of record,

David J. Cohen, Esq., and Assistant United States Attorney,

Michael M. Beckwith, Esq., after due consultation with Senior

United States Probation Officer Thomas H. Brown, jointly request

an extension of time for the sentencing hearing in this matter

and jointly request the following revised disclosure schedule for

sentencing filings in this case:

     1.    The parties stipulate and agree that the sentencing

hearing in this case should be continued from August 23, 2010 at

8:30 a.m. to October 18, 2010 at 8:30 a.m.


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     2.    The   parties   further       stipulate   and   agree   that   the

sentencing filings in this case are to be made and due as

follows:

           a.    Reply or Statement due on October 11, 2010.

           b.    Motion for Correction of the Pre-Sentence Report
                 shall be filed with the Court and served on the
                 Probation Officer and opposing counsel no later
                 than October 4, 2010.

           c.    The Pre-Sentence Report shall be filed with the
                 Court and disclosed to counsel no later than
                 September 27, 2010.

           d.    Counsel’s written informal objections to the Pre-
                 Sentence Report shall be delivered to the
                 Probation Officer and opposing counsel no later
                 than September 20, 2010.

           e.    The Proposed Pre-Sentence Report shall be
                 disclosed to counsel no later than September 7,
                 2010.

     IT IS SO STIPULATED.

                                           BENJAMIN B. WAGNER
                                           United States Attorney

DATED: June 11, 2010               By:     /s/ Michael M. Beckwith_
                                           MICHAEL M. BECKWITH
                                           Assistant U.S. Attorney
                                           Attorney for Plaintiff


DATED: June 11, 2010               By:     /s/ David J. Cohen
                                           DAVID J. COHEN
                                           Attorney for Defendant
                                           ALEX HERNANDEZ




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     IT IS SO ORDERED.

DATED: June 15, 2010




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